';1,            Case 3:14-cr-01754-AJB               Document 66           Filed 07/09/15           PageID.120       Page 1 of 4
       AO 245B (CASDRev. 08113) Judgment in a Crimirial Case                                                         FILED
                                                                                                                     JUL 0 9 2015
                                             UNITED STATES DISTRICT COU T
                                                                                                             CLER1~, U,S, DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                            Y                 t\ ee DE: U,Y
                    UNITED STATES OF AMERICA                               JUDGMENT IN A C               IN1ttre~---'------

                                        V.                                 (For Offenses Committed On or After November I, 1987)
                            LAMAR MOORE (01)
                                                                              Case Number:         14CR1754-AJB-Ol

                                                                           Alex L Landon
                                                                           Defendant's Attorney
       REGISTRATION NO.                 46595298
       0-
       THE DEFENDANT:
       1Zl pleaded guilty to count(s)         One and Two of the Superseding Information

       o was found guilty on count(s)
           after a plea of not guilty.
       Accordingly, the defendant is a(\judged guilty of such count(s), which involve the following offense(s):
                                                                                                                            Count
       Title & Section                   Nature of Offense                                                                 Number(s)
       18:1591(a),(b)                    Sex Trafficking of Children                                                          Is

       18: I 59I(a),(b)                  Sex Trafficking of Children                                                             2s




           The defendant is sentenced as provided in pages 2 through                 4            ofthis judgment.
       The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       o The defendant has been found not guilty on count(s)
       1Zl Count(s)       Remaining Indictment Counts                are         dismissed on the motion of the United States,

       1Zl Total Assessment: $200.00 ($100.00 as to each count)



        1Zl No fine               0 Forfeiture pursuant to order filed                                       , included herein.
              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
       change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
       judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
       any material change in the defendant's economic circumstances.




                                                                         IjON. ANTHONY J. BATTA '
                                                                        AJNITED STATES DIST "



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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ONE HUNDRED AND TWENTY (120) MONTHS, As to each Count, to run Concurrent.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 I2Sl   The court makes the following recommendations to the Bureau of Prisons:

        The court recommends custody be served in the Western Region, Victorville, CA FCC.
        If available, the court recommends that the defendant participate in the RDAP (500) Hour Drug
        Treatment Program.

 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at _ _ _ _ _ _ _ A.M.                           on
        o     as notified by the United States Marshal.
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

I have executed this jUdgment as follows:

        Defendant delivered on   _________________________ 00 ______________________________


 at _____________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                   14CR1754-AJB-Ol
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS, As to each Count, Concurrent


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
☐
          substance abuse. (Check, if applicable.)
☒         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
☒
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
☐         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
☐         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance
         with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION



   1. Report all vehicles owned or operated, 01' in which you have an interest, to the probation officer.

   2. Not have any contact, direct 01' indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   3. Not associate with prostitutes or pimps and/or loiter in areas frequented by those engaged in prostitution.

   4. Shall not associate with any member, prospect, or associate of the (Lincoln Park gang), or any other gang,
      or club with a history of criminal activity, unless given permission by the probation officer.

   5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
      associated with a gang, unless given permission by the probation officer.

   6. Shall not loiter, or be present in locations known to be areas where gang members congregate, unless
      given permission by the probation officer.

   7. (Adam Walsh) Submit your person, property, house, residence, vehicle, papers, computer, electronic
      communications or data storage devices or media, and effects to search at any time, with or without a
      warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation of
      a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of
      the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

   8. Not use or possess devices which can communicate data via modem or dedicated connection and may not
      have access to the Internet without prior approval from the court or the probation officer. The offender
      shall consent to the installation of systems that will enable the probation officer to monitor computer use
      on any computer owned or controlled by the offender. The offender shall pay for the cost of installation
      of the computer software.

   9. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.




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